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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA


 ROCKDALE COUNTY,
        Plaintiff,                             C. A. No. 1:24-cv-04916-SEG

               v.
                                               JURY TRIAL DEMANDED
 BIO-LAB INC., et al.,
        Defendants.

                             SCHEDULING ORDER

      Pursuant to this Court’s February 5, 2025 Order [Doc. 41] directing the

parties to file their joint schedule or separate proposals by February 12, 2025,

Plaintiff and Defendants Bio-Lab, Inc., KIK International, LLC, and KIK Custom

Products, Inc., (collectively, the “Bio-Lab and KIK Defendants”) hereby file their

proposed Scheduling Order. Accordingly, Plaintiff and the Bio-Lab and KIK

Defendants propose that the case proceed pursuant to the following dates and

deadlines:

ACTION                             DEADLINE

Motion to Dismiss                  Monday, Feb. 24, 2025

Response to MTD                    Monday, March 24, 2025 (4 weeks)

Reply to MTD                       Monday, April 14, 2025 (3 weeks)
Rule 26(f) Early Planning
                                   March 12, 2025 (16 days from MTD)
Conference
Joint Preliminary Report &         Wednesday, March 26, 2025
Discovery Plan                     (30 days from MTD)




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ACTION                                DEADLINE
First Day to Serve Initial            Wednesday, March 26, 2025
Document Requests                     (30 days from MTD)
Deadline to submit
confidentiality order and ESI         Wednesday, March 26, 2025
protocol
                                      Wednesday, March 26, 2025
Rule 26(a)(1) Initial Disclosures
                                      (30 days from MTD)
Responses and Objections to           May 12, 2025
Initial Document Requests             (45 days from service of requests)
Rolling Production in Response
to Initial Document Requests          June 16, 2025
Begins
Answer to Complaint                   30 days following decision on MTD
Discovery other than Requests
                                      14 days following Answer
for Production opens
Discovery Disputes                    Pursuant to Standing Order IV(I)

Written Fact Discovery                Six months following commencement of
Substantially Complete                discovery

Initial Fact Discovery Cutoff         Friday, January 16, 2026

Expert Disclosure                     Friday, February 27, 2026

Rebuttal Expert Disclosure            Friday, March 27, 2026

Expert Depos Complete                 Friday, May 8, 2026
In Person Conference after
                                      Within 14 days of close of discovery
Discovery

Daubert Motions                       Friday, June 12, 2026

Daubert Response                      4 weeks after motion is filed and served

Daubert Reply                         4 weeks after response is filed and served




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ACTION                          DEADLINE
                                60 days after order on class cert. in the case
Motion for Summary Judgment     of In Re Bio-Lab Class Actions, Case No.
                                1:24-cv-04407-SEG)

Response to MSJ                 30 days after motion is filed and served

Reply To MSJ                    21 days after opposition is filed and served

Proposed Consolidated PTO       30 days after Court’s order on MSJ


     SO ORDERED this 18th day of February, 2025.



                                         _________________________________
                                         SARAH E. GERAGHTY
                                         UNITED STATES DISTRICT JUDGE




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